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              United States Court of Appeals
                              For the First Circuit
No. 22-1755

MICHAEL BUSH; LINDA TAYLOR; LISA TIERNAN; SUSAN PROVENZANO; ROBERT
     EGRI; KATALIN EGRI; MONICA GRANFIELD; ANN LINSEY HURLEY,

                                  Plaintiffs - Appellants,

     JOSEPH PROVENZANO; KATE HENDERSON; IAN SAMPSON; ANITA OPITZ,

                                        Plaintiffs,

                                             v.

LINDA FANTASIA; MARTHA FEENEY-PATTEN; ANTHONY MARIANO; CATHERINE
   GALLIGAN; JEAN JASAITIS BARRY; PATRICK COLLINS; DAVID ERICKSON;
                TIMOTHY GODDARD; TOWN OF CARLISLE;

                                  Defendants - Appellees,

                                 JOHN DOE; JANE DOE,

                                       Defendants.


                                       MANDATE

                                  Entered: June 26, 2024

       In accordance with the judgment of April 18, 2024, and pursuant to Federal Rule of
Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                          By the Court:

                                          Maria R. Hamilton, Clerk


cc:
Justin Lee Amos, Michael Bush, John Joseph Davis Jr., Katalin Egri, Robert Egri, Monica
Granfield, Kate Henderson, Ann Linsey Hurley, Heidi Kaiter, Anita Opitz, Jill Owens, Joseph
Provenzano, Susan Provenzano, Ian Sampson, Linda Taylor, Lisa Tiernan
